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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                      Plaintiff,                                     21-CR-399 (RDM)
                          v.                                         Unopposed Motion for
 ROMAN STERLINGOV,                                                       Continuance

                     Defendant.




          Defendant Roman Sterlingov moves this Court, through undersigned counsel, for a

continuance of his sentencing date, moving the date from July 15 to August 15, 2024. This is the

first sentencing date continuance request by either the Government or the Defense. This motion

is necessitated because of the United States Probation Office’s inability to access Mr. Sterlingov

for purposes of conducting the presentence interview while Mr. Sterlingov is detained in the D.C

Department of Corrections. The government does not oppose the relief sought in the Motion.

                                          Background

          On March 14, 2024, USPO Hana Field was assigned by the United States Probation

Office to complete an initial interview (PSR Interview) and a presentencing report (PSR) in this

matter.

          On March 20, 2024, USPO Field confirmed scheduling of a telephone interview with Mr.

Sterlingov for April 10, 2024.

          On April 10, 2024, USPO Field and Defense Counsel tuned into a conference call to

conduct the PSR Interview, but the jail failed to produce Mr. Sterlingov.
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       On April 22, 2024, USPO Field and Defense Counsel tuned into a second scheduled

conference call to conduct the PSR Interview, but the jail once again failed to produce Mr.

Sterlingov.

       On May 21, 2024, USPO Field and Defense Counsel tuned into a third scheduled

conference call to conduct the PSR Interview, but the jail once again failed to produce Mr.

Sterlingov.

       USPO Field communicated to Defense Counsel that the United States Probation Office

communicates directly with each detention facility regarding access to inmates for purposes of

conducting the PSR interview.

       On June 13, 2024, an in-person PSR interview took place in the cellblock of the United

States Marshal’s Office located in the basement of the United States District Court for the

District of Columbia at the E. Barrett Prettyman Courthouse.

       USPO Field has requested that Defense Counsel file a continuance in this matter to

provide her office with enough time to complete the PSR following completion of the PSR

interview.

       On May 28, 2024, the Government agreed to a continuance up to 30 days for purposes of

extending the United States Probation Office’s time to complete the PSR.

                                   Continuance Grounds

       This continuance request is directly caused by the D.C. Department of Corrections’

failure to produce Mr. Sterlingov for his scheduled PSR telephone interview. The PSR interview

was scheduled three times and all three times, the jail failed to produce Mr. Sterlingov for the

telephone call.
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        Attorney access to Mr. Sterlingov has been extremely restricted while he has been

detained at the D.C. Department of Corrections. Defense Counsel even had to travel to D.C. in-

person to hand deliver Mr. Sterlingov the PSR paperwork related to the PSR report because the

jail failed to deliver him copies that were mailed to the jail.

        USPO Field has requested additional time to complete the PSR report. When contacted

regarding USPO Field’s continuance request, the Government confirmed that they would not

oppose a continuance request of up to 30 days. The Government agrees to a continuance to the

date of August 15, 2024, based on its availability.

                                            Conclusion

        Despite due diligence on behalf of Defense Counsel, the Government and the United

States Probation Office, the D.C. Department of Corrections has thus far failed to produce Mr.

Sterlingov for his PSR interview. Thus, for the foregoing reasons, the Defense requests without

opposition from the government that this Court continue the sentencing hearing to August 15,

2024.
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Dated: June 24, 2024
New York, New York


                             Respectfully submitted,


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                             Counsel for Defendant Roman Sterlingov
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of June 2024, the forgoing document was filed with

the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of the

foregoing was sent to the following individuals via e-mail:

                                                                           s/ Michael Hassard


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